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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 JACQUELINE STEVENS,                             )
                                                 )
                                 Plaintiff,      )
                                                 )
                        v.                       )
                                                 )
 U.S. IMMIGRATION AND CUSTOMS                    )
 ENFORCEMENT, U.S. CUSTOMS AND                   )    No. 21 C 2232
 BORDER PROTECTION, U.S.                         )
 CITIZENSHIP AND IMMIGRATION                     )    Judge Tharp
 SERVICES, EXECUTIVE OFFICE OF                   )
 IMMIGRATION REVIEW, U.S. NAVY,                  )
 U.S. DEPARTMENT OF AGRICULTURE,                 )
 U.S. DEPARTMENT OF STATE, and U.S.              )
 DEPARTMENT OF JUSTICE,                          )
                                                 )
                                 Defendants.     )

                                     JOINT STATUS REPORT

        At the court’s direction (Dkt. 16), the parties in this Freedom of Information Act case

jointly submit this status report:

        1.      Defendants previously reported that, of the seven agencies to which plaintiff has

directed FOIA requests, one agency, ICE, was still searching for records responsive to plaintiff’s

FOIA requests. Dkt. 15 ¶ 3.

        2.      Since that report, ICE has completed its search and expects to produce responsive

records within the next two weeks.
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      3.     The parties propose that they file a joint status report in 30 days with a proposed

summary judgment briefing schedule.

                                           Respectfully submitted,

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